USDC IN/ND case 2:98-cr-00078-RL-APR   document 1002   filed 05/08/06   page 1 of 8


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


 DRIEFUS HARBIN,                          )
                                          )
 Petitioner,                              )
                                          )
 vs.                                      )     NO. 2:05-CV-205
                                          )         (2:98-CR-78)
 UNITED STATES OF AMERICA,                )
                                          )
 Respondent.                              )


                             OPINION AND ORDER

       This matter is before the Court on the Motion under 28 U.S.C. §

 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

 Custody, filed by Petitioner, Driefus Harbin, on May 19, 2005.                 For

 the reasons set forth below, this motion is DENIED.               The Clerk is

 ORDERED to DISMISS this case with prejudice.           The Clerk is FURTHER

 ORDERED to distribute a copy of this order to Petitioner, Prisoner No.

 05511-027, at F.C.I. Beckley in Beaver, West Virginia, or to such

 other more recent address that may be on file for Petitioner.



 BACKGROUND

       The facts and procedural posture of the underlying criminal case

 are lengthy, familiar, and set forth in detail in the Seventh

 Circuit’s published opinion, United States v. Hicks, 368 F.3d 801 (7th

 Cir. 2004).     The Court assumes the parties’ familiarity with that
USDC IN/ND case 2:98-cr-00078-RL-APR    document 1002   filed 05/08/06    page 2 of 8


 opinion and the proceedings of this case.         Relevant here, Petitioner,

 Driefus Harbin, was convicted by a jury of conspiring to possess with

 intent to distribute and distributing 50 grams or more of crack

 cocaine, in violation of Title 21 U.S.C. section 846, and possessing

 with intent to distribute in excess of 5 grams of crack cocaine, in

 violation of Title 21 U.S.C. section 841(a)(1).              Subsequently, the

 Court conducted the sentencing in a three part process.                  The Court

 began with an evidentiary hearing on October 18, 2002.                    This was

 followed by a February 21, 2003, hearing where the parties made their

 respective arguments, including sentencing objections.                  Finally, on

 March 14, 2003, the Court found that Petitioner had a base offense

 level of 32 because of the crack cocaine attributable to him.                    The

 Court also determined Petitioner to have a criminal history category

 III.     The Court denied Petitioner’s request for a reduction of

 acceptance of responsibility under section 3E1.1 of the Guidelines.

 Ultimately, Petitioner was sentenced to 188 months of imprisonment on

 each count, to be served concurrently.         Petitioner has exhausted his

 direct appeals, and now proceeds with the instant collateral attack.

        Petitioner filed his habeas petition based upon two complaints

 regarding ineffective assistance of counsel at the sentencing phase.

 First, Petitioner claims his counsel rendered ineffective assistance

 of counsel in not "adequately" objecting to the Court’s denial of

 acceptance of responsibility.         Second, Petitioner faults his counsel

 for not objecting to his involvement in Dontrell Hamilton’s murder and


                                        -2-
USDC IN/ND case 2:98-cr-00078-RL-APR    document 1002        filed 05/08/06   page 3 of 8


 other acts of violence.       These arguments will be addressed in turn.



 DISCUSSION

 Habeas Corpus

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved for

 "extraordinary situations."          Prewitt v. United States, 83 F.3d 812,

 816 (7th Cir. 1996).       In order to proceed on a habeas corpus petition

 pursuant to 28 U.S.C. section 2255, a federal prisoner must show that

 the district court sentenced him in violation of the Constitution or

 laws of the United States, or that the sentence was in excess of the

 maximum authorized by law, or is otherwise subject to collateral

 attack.    Id.

       A   section   2255    motion     is     neither   a     substitute      for    nor

 recapitulation of a direct appeal.            Id.; see also Belford v. United

 States, 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds

 by Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                       As a

 result:

              [T]here are three types of issues that a section
              2255 motion cannot raise: (1) issues that were
              raised on direct appeal, absent a showing of
              changed circumstances; (2) nonconstitutional
              issues that could have been but were not raised
              on direct appeal; and (3) constitutional issues
              that were not raised on direct appeal, unless the
              section 2255 petitioner demonstrates cause for
              the procedural default as well as actual
              prejudice from the failure to appeal.

 Belford, 975 F.2d at 313.         Additionally, aside from demonstrating

 "cause" and "prejudice" from the failure to raise constitutional

                                         -3-
USDC IN/ND case 2:98-cr-00078-RL-APR   document 1002   filed 05/08/06   page 4 of 8


 errors on direct appeal, a section 2255 petitioner may alternatively

 pursue such errors after demonstrating that the district court's

 refusal to consider the claims would lead to a fundamental miscarriage

 of justice.    McCleese v. United States, 75 F.3d 1174, 1177 (7th Cir.

 1996).

       In assessing Petitioner's motion, the Court is mindful of the

 well-settled principle that, when interpreting a pro se petitioner's

 complaint or section 2255 motion, district courts have a "special

 responsibility" to construe such pleadings liberally.            Donald v. Cook

 County Sheriff's Dep't., 95 F.3d 548, 555 (7th Cir. 1996); Estelle v.

 Gamble, 429 U.S. 97, 106 (1976) (a "pro se complaint, 'however

 inartfully pleaded' must be held to 'less stringent standards than

 formal pleadings drafted by lawyers'") (quoting Haines v. Kerner, 404

 U.S. 519 (1972)); Brown v. Roe, 279 F.3d 742, 746 (9th Cir. 2002)

 ("pro se habeas petitioners are to be afforded 'the benefit of any

 doubt'") (quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir.

 1985)).    In other words:

             The mandated liberal construction afforded to pro
             se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail, it
             should do so despite the [petitioner's] failure
             to cite proper legal authority, his confusion of
             various legal theories, his poor syntax and
             sentence construction, or his unfamiliarity with
             pleading requirements."

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)


                                       -4-
USDC IN/ND case 2:98-cr-00078-RL-APR      document 1002       filed 05/08/06   page 5 of 8


 (quoting Hall     v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).                   On

 the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition to

 include claims that were never presented.'"                   Id.     Here, the Court

 assessed Petitioner's claims with those guidelines in mind.



 Ineffective Assistance of Counsel

       Counsel     in   a    criminal   case    must   perform       according    to   the

 standards    of    a   reasonably      competent      attorney.        Strickland      v.

 Washington, 466 U.S. 668, 687-91 (1984).                The test for ineffective

 assistance of counsel under Strickland is exacting.                   To successfully

 assert such a claim, a Defendant must show that his attorney's

 representation "fell below an objective standard of reasonableness"

 and that, but for counsel's lapses, "the result of the proceeding

 would have been different."            Porter v. Gramley, 112 F.3d 1308 (7th

 Cir. 1987) (quoting Strickland, 466 U.S. at 688, 694).                          "In sum,

 counsel's errors must result in a proceeding that is 'fundamentally

 unfair or unreliable.'" Kavanagh v. Berge, 73 F.3d 733, 735 (7th Cir.

 1996) (quoting Lockhart v. Fretwell, 506 U.S. 364, 368 (1993)).                       The

 Strickland      test   is     highly   deferential      to     counsel,       "presuming

 reasonable judgment and declining to second guess strategic choices."

 United States v. Williams, 106 F.3d 1362, 1367 (7th Cir. 1997)

 (citations omitted).          For example, trial strategy is not a viable

 subject for review by this or any other court.                 Williams v. McVicar,


                                          -5-
USDC IN/ND case 2:98-cr-00078-RL-APR             document 1002           filed 05/08/06    page 6 of 8


 918 F. Supp. 1226, 1233 (N.D. Ill. 1996).                             Thus, when examining the

 performance prong of the test, a court must "indulg[e] a strong a

 presumption that counsel's conduct falls within the wide range of

 reasonable assistance."                Galowski v. Berge, 78 F.3d 1176, 1180 (7th

 Cir. 1996) (internal quotes omitted).                      Similarly, when examining the

 prejudice      prong,      a    court    must       attach       a    "strong    presumption         of

 reliability" to the original verdict.                            Kavanagh, 73 F.3d at 735

 (citation omitted).             Unless a defendant satisfies both parts of the

 test, "it cannot be said that the conviction . . . resulted from a

 breakdown      in    the       adversary        process         that     renders         the   result

 unreliable." United States v. Fish, 34 F.3d 488, 492 (7th Cir. 1994).



 Acceptance of Responsibility

       As set forth above, Petitioner's counsel sought the benefit of

 acceptance      of    responsibility,           which          this    Court     denied.        While

 Petitioner vaguely argues that his counsel somehow did not adequately

 object    to   the    Court’s          denial       of    acceptance       of    responsibility,

 Petitioner fails to explain what specific deficiency he is complaining

 of.     As Petitioner does not even state the basis upon which his

 counsel     should        have    challenged             the    denial      of    acceptance        of

 responsibility, he has failed to meet the performance prong of

 Strickland.          In    addition,         upon    the       Court’s     own    review       of   the

 sentencing transcripts, it is apparent that counsel’s conduct clearly

 falls    within      the       range    of    reasonable             professional        assistance.


                                                 -6-
USDC IN/ND case 2:98-cr-00078-RL-APR    document 1002       filed 05/08/06    page 7 of 8


 Strickland, 466 U.S. at 689.

       At the sentencing hearing, Petitioner’s counsel proffered that

 Petitioner should get the benefit of acceptance of responsibility, due

 to his attempt at entering into a plea agreement with the Government.

 (Feb. 21, 2003 Tr., p. 43).           The Court rejected the argument at

 sentencing.    Moreover, the Seventh Circuit has already had occasion

 to visit this issue and found that Petitioner was not entitled to any

 reduction based upon acceptance of responsibility.                  Hicks, 368 F.3d

 at 808-09.    Thus, Petitioner's claim also fails under the prejudice

 prong of Strickland.



 Acts of Violence

       Here, Petitioner complains that his counsel did not object to the

 admission of evidence related to the murder of Dontrell Hamilton and

 other acts of violence.         This omission should not come as a surprise

 because, as the Government again correctly notes, neither the murder

 nor   any   other   acts   of    violence    played    a    role    in      determining

 Petitioner’s sentence.      Petitioner’s sentence was calculated simply

 by determining the offense level, which was unaffected by the acts of

 violence, and the criminal history.          Therefore, counsel's failure to

 object to the admission of the acts of violence evidence caused no

 prejudice under Strickland and, consequently, this claim must fail.




                                        -7-
USDC IN/ND case 2:98-cr-00078-RL-APR   document 1002   filed 05/08/06   page 8 of 8


 CONCLUSION

       For the reasons set forth above, this motion is DENIED.                  The

 Clerk is ORDERED to DISMISS this case with prejudice.              The Clerk is

 FURTHER ORDERED to distribute a copy of this order to Petitioner,

 Prisoner No. 05511-027, at F.C.I. Beckley in Beaver, West Virginia,

 or to such other more recent address that may be on file for

 Petitioner.



 DATED:   May 8, 2006                     /s/RUDY LOZANO, Judge
                                          United States District Court




                                       -8-
